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4 Subjects
[ ?]   1. Trump-Putin Call Set-Up
       2. Exchange Holiday Greeting
       3. Offering condolences for lives lost Russian plane crash
       4. Syria continuance on ISIS




DIA 1st invited [unknown] GRU leadership OPD. All approved. 4 day trip. Summer 2013
Kislyak – I don’t know if I met him there. Very appreciative visit. Sergon-GRU UTC- in uniform.
Set-up big visit him to come to US. 28th Feb 2014. Went to Crimea – Nothing more to that.
Next time. Trip to Russia so much press unbelievable. Never paid by media.




Did RT, Al Jazeera, Sky, MSNBC. Speakers bureau LAI. Request to speak in Moscow @ me. At RT
10th Anniversary. I was paid for that. Speakers bureau paid me. They took 25%. I may have. Sergun
heart attack in Lebanon. He was like me. Similar background. Sons. Heard death – send condolences.
Really wasn’t part of campaign. Really thought Sergun was okay we could work with. Connections
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fight terrorism. Chechnya combat scars. Talked @ Afghanistan. Turkish ambassador killed. 20 Jan –
up to probably spoken to 30 countries. Multiple people in countries.




4+1
China
NK
Russia
Iran
ISIS

Only Russia Kislyak. Direction.
Common partner in these things. Don’t know Trump/Putin got along. Figure out POTUS work with
Russia. Russia amb. Turk. Sorry. Common problems. That was it.
 Before Christmas. Mid December. Called next day. He said his family love, Christmas Day - plane
crash. Russian USO. Choir sang at my dinner. Took opportunity to pass condolences. Trying to keep
relationship. CJS – report [conversation??]




No affinity Russia – Kislyak counterpart. Vacay Dom Republic.
28th Dec a Tuesday – he sends me a text. Can you call me? I didn’t see it.
24 hours later. Call you in 15-20 mins. 1 hour ahead Dom Republic.
Asks me. Set-up UTC Putin/Trump – 21st. Have him qued into
Conference in Astana, Kazakhstan, Russia, Turkey, Iran, opposition groups.
Sent US Embassy person. Didn’t get back to him. Probably only this past week.
Make decision for representation – FRI/SAT. Observer.
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Russia wants lead role for mid east peace. US. Turkey under wing.
Lack of engagement. Email – receptive person. Met in NY post election.
Closed door meeting Jared Kushner.
Been to Rus emb – before I went to speak at speaker bureau.




DIA briefing prior. Intel courtesy to see Ambo. 30-45 mins. Son with me.
Late middle of day. Ambas. Res. University Club. NY Meet in Nov.
Maybe before Thanksgiving. He was in NY. Relatively sensitive meeting JK @
Sensitive – Countries don’t want white house to know. No personal > WH relationship Trump
Tower.
Set expectations – set high for countries.

UN Vote – settlements. Yes good reminder. Yeah so 22nd December litany countries
get sense where stood on that vote. UK. Senegal. Egypt, Israel, maybe France. Maybe Kislyak.
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Get a sense abstain, veto. This very
More where they stand. I don’t believe we would change anything. There
Needed to be so many to abstain. 14 countries permanent counsel 5+9
Only US Abstain. US. Wasn’t hey if you do this it will be that kind of thing, hey where do you stand.
Senegal came up – how much.
Not please consider voting this way?
No. Where do you stand? What’s position.
Egypt – did not like it. Other channels. Delayed on own accord.
Drill exercise – how fast can you get someone on the line – battle drill.
NK – how do we act? How respond?
Mar-a-Lago – Friday or Thursday. Right before Christmas. Boxed us in.




Transition not good. Policy.
Kislyak – Repp? 29th spoke. I don’t, the conversation was on
VTC, Astana thing, I had no TV, my government blackberry
No recollection? Not really. I don’t remember. Hey don’t do anything.
Total surprise. I didn’t know about it until media.
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Cyber briefing. Decision, what
Kislyak – start off on good foot. Looking forward to relationship.
I wouldn’t understand it. I can understand PNG of one.




Start good relationship. Move forward.
I don’t remember making 4-5 calls. If I did lousy place to call.
Nothing long drawn out about don’t do something.

Ezra
1 person here. Approached Hope Hicks. Someone I introduced
Close to Trump.
Hope Hicks, John McEntee, Dan Scavino
Leak of [unknown] classified [unknown], electronic devices,
real world examples, here is what is in play. [To beat?]
maybe we take moderate
